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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                           IN THE UNITED STATES DISTRICT COURT                              October 09, 2020
                           FOR THE SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk

                                    HOUSTON DIVISION


UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §    CRIMINAL NO. H-18-469-3
                                                   §
JHONY FIDEL CUELLO-PETRO                           §
                                                   §
                                                   §

                           ORDER OF DETENTION PENDING TRIAL


        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by clear and convincing evidence and
require the detention of the above-named defendant pending trial in this case.

                                           Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)     The defendant has been convicted of a (federal offense) (state or local offense that
                 would have been a federal offense if a circumstance giving rise to federal jurisdiction
                 had existed) that is

                      []     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                      []     an offense for which the maximum sentence is life imprisonment or
                             death.

                      []     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                      []     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

          [ ] (2) The offense described in finding 1 was committed while the defendant was on
                  release pending trial for a federal, state or local offense.

          [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
                  (release of the defendant from imprisonment) for the offense described in finding 1.
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        [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                combination of conditions will reasonably assure the safety of any other person and
                the community. I further find that the defendant has not rebutted this presumption.

[x ]    B.         Findings of Fact [18 U.S.C. § 3142(e)]

        [ x] (1)       There is probable cause to believe that the defendant has committed an offense

                       [x ]   for which a maximum term of imprisonment of ten years or more is
                              prescribed in 21 U.S.C.
                              (x ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                       []     under 18 U.S.C. § 924(c).

        [x ] (2)       The defendant has not rebutted the presumption established by the finding under
                       B.(1) that no condition or combination of conditions will reasonably assure the
                       appearance of the defendant as required and the safety of the community.

[x]     C.         Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [ ] (1)


        [x] (2) There is a serious risk that the defendant will flee.

        [ ] (3)

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[x]     D.         Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:
                    Defendant has stated that he is financially unable to meet this condition of
                    release. The Court has been asked to reconsider. I have concluded that the bond
                    requirement is the only condition of release that could assure the appearance of
                    the defendant. I find that the amount of bond is reasonable and necessary.

        [ ] (2)


        [x] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                § 3142(c) which will reasonably assure the appearance of the defendant as required.

        [ ] (4)
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       [ ] (5) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.


                           Written Statement of Reasons for Detention


I find that the credible testimony and information submitted at the hearing establishes by clear
and convincing evidence that:
Jhony Fidel Cuello-Petro has been charged by Indictment in the United States District Court for the
Southern District of Texas, Houston Division, with international cocaine distribution conspiracy in
violation of 21 U.S.C. 963, 959(a), 960(a)(3) and (b)(1)(B) and international cocaine distribution
in violation of 21 U.S.C. 959(a), 960(a)(3) and (b)(1)(B) and 18 U.S.C. 2.
I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to be
taken into account:
Jhony Fidel Cuello-Petro was advised of his right to an immediate federal detention hearing,
including the right to present evidence, call witnesses, cross-examine the government’s witnesses,
proffer testimony, and assert reasons why he should not be detained by federal authorities, but
elected to waive the right to said detention hearing. Jhony Fidel Cuello-Petro is a citizen of
Colombia. He has no legal status in the United States. He was extradited to the United States. This
enhances the risk of flight. The Court concludes that there is a substantial risk of flight in this
matter. Accordingly, having determined that there are no standard conditions of release to assure the
appearance of the Defendant at all future court proceedings in this matter, the Court ORDERS that
Defendant Jhony Fidel Cuello-Petro be DETAINED pending further proceedings in this matter.
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                                  Directions Regarding Detention


        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On Order of a Court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.

       Signed at Houston, Texas, this 9th day of October 2020.
